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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 87-CR-699-KMM

UNITED STATES OF AMERICA
Plaintiff,

V.

RAUL Z. PLASENCIA
Defendants.

CLERK’S ORDER OF DESTRUCTION OF EXHIBITS
Upon a sua sponte review of the file, this cause has been closed, with no pending appeal, for
more than three (3) months. The exhibits attached to docket entry #691 filed by the plaintiff are
ready to be released/destroyed. Asa courtesy, the filing party was notified on _ 05/28/2010 and no
response was received.
Therefore, pursuant to Local Rule 5.3 C, the above-mentioned exhibits in the custody of the
Clerk have been destroyed.

DONE at the Southern District of Miami , Florida, this_24th day of _ August 2010.

STEVE LARIMORE
COURT ADMINISTRATOR * CLERK OF COURT

Dgputy Clerk

 
